
		
				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2022 OK 59Case Number: SCBD-7058Decided: 06/13/2022THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2022 OK 59, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2020



ORDER STRIKING NAMES



The Board of Governors of the Oklahoma Bar Association filed an Application for Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls and from the practice of law in the State of Oklahoma for failure to comply with the Rules for Mandatory Continuing Legal Education, 5 O.S. 2011, ch. 1, app. 1-B, for the year 2020.

Pursuant to Rule 6(d) of the Rules for Mandatory Continuing Legal Education, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Association and the practice of law in the State of Oklahoma by Order of this Court on June 7, 2021, for noncompliance with Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education for the year 2020. Based on its application, this Court finds that the Board of Governors determined at their May 20, 2022 meeting that none of the Oklahoma Bar Association's members named on Exhibit A, attached hereto, have applied for reinstatement within one year of the suspension order. Further, the Board of Governors declared that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and their names should therefore be stricken from its membership rolls and the Roll of Attorneys on June 7, 2022. This Court finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys on June 7, 2022 for failure to comply with the Rules for Mandatory Continuing Legal Education for the year 2020.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 13TH DAY OF JUNE, 2022.


CHIEF JUSTICE


ALL JUSTICES CONCUR.


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EXHIBIT A

(MCLE -- STRIKE)

Arya Affeldt Adibi, OBA No. 30837
6226 E. 98th St.
Tulsa, OK 74137

Andrew David Balint, OBA No. 22373
114 N. Grand Ave., Ste. 408
Okmulgee, OK 74447-4032

Mitchell Kenneth Coatney, OBA No. 21066
16328 Muirfield Pl.
Edmond, OK 73013

James Troy Gaston, OBA No. 19813
9020 Urban View
Fort Smith, AR 72903

Keegan Kelley Harroz, OBA No. 30383
625 N.W. 13th St.
Oklahoma City, OK 73103

Samuel Dean Ott, OBA No. 6813
18914 Thunder Ridge
Norman, OK 73072

Jay Tayar Silvernail, OBA No. 22807
4101 N.W. 52nd St.
Oklahoma City, OK 73112-2109

Daniel Martin Vigilius, OBA No. 34042
1770 S. Rock Rd., Apt. 604
Wichita, KS 67207

Nicholas Weeks, OBA No. 33786
999 Jessica Leigh St.
Elkins, AR 72727

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